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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA


 JOYCE BAHR,

       Plaintiff
                                                       Case No. 2:21-cv-01330
 VERSUS

 UNITED   FINANCIAL   CASUALTY
 COMPANY     AND    PROGRESSIVE
 CASUALTY INSURANCE COMPANY

       Defendant



                                         COMPLAINT


       The Complaint of JOYCE BAHR respectfully represents:

                                        JURISDICTION

                                                  I.

       Jurisdiction over this Complaint is vested in this Honorable Court pursuant to 28 U.S.C. §

1332, as the plaintiff and defendant are citizens of different states and the amount in controversy

exceeds $75,000.00.

                                             VENUE

                                                 II.

       The automobile crash that forms the basis of this litigation occurred within the Eastern

District of Louisiana.

                                            PARTIES

                                                 III.

       The following is made plaintiff herein:
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       a.      JOYCE BAHR, a person of the full age of majority who is domiciled in the Parish
               of Jefferson, State of Louisiana.

                                                IV.

       The following is made defendant herein:


       a.      UNITED FINANCIAL CASUALTY COMPANY, a foreign insurance company
               which has appointed the Secretary of State for the State of Louisiana as agent for
               service of process; and

       b.      PROGRESSIVE CASUALTY INSURANCE COMPANY, a foreign insurance
               company which has appointed the Secretary of State for the State of Louisiana as
               agent for service of process.


                                      CAUSE OF ACTION

                                                V.

       On July 17, 2020, petitioner, JOYCE BAHR, was a passenger in a vehicle being operated

by Paul Wunder on the Uber platform and was traveling south on the 2900 block of David Drive,

in the Parish of Jefferson, State of Louisiana. The vehicle that petitioner was traveling in came to

a stop in traffic in the left lane of David Drive. At the same time, 2015 Nissan Altima bearing

VIN 1N4AL3AP8FN304395 and being operated by Nemy Granger was also travelling south on

David Drive. The driver of the Nissan, Nemy Granger, failed to see that the vehicle being traveled

in by petitioner, JOYCE BAHR, had come to a stop in traffic. Suddenly and without warning,

the Nissan struck the rear of the vehicle being traveled in by petitioner, JOYCE BAHR. Petitioner,

JOYCE BAHR, suffered severe and debilitating injuries as a result of the accident.

                                                VI.

       At the time of the accident, the vehicle being operated by Nemy Granger was covered by

a minimum limited automobile liability insurance policy provided by Progressive Paloverde

Insurance Company.
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                                                 VII

       The accident which occurred was caused solely by the negligence of the operator of the

2015 Nissan Altima, Nemy Granger.

                                                VIII.

       Nemy Granger was negligent in the following manner:

           a. Failing to keep a proper lookout;

           b. Failing to keep his vehicle under control at all times;

           c. Driving his vehicle with reckless disregard for the safety of others;

           d. Failing to see what he should have seen;

           e. Making a left turn across the northbound lanes of Louisiana Avenue without

                 yielding for the vehicle being operated by petitioner; and

           f. Other acts of negligence as may be shown at the trial of this matter; such acts being

                 in violation of the laws of the United States of America, the State of Louisiana,

                 and the ordinances of the Parish of Orleans, which are specially plead as if

                 copied in extenso.

                                                 IX.

       Progressive Paloverde Insurance Company has remitted its policy limits in connection with

this accident.

                                                  X.

       At the time of the collision, JOYCE BAHR, was a passenger in an automobile being

operated by Paul Wunder on the Uber rideshare platform.
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                                                XI.

       Prior to this accident, UNITED FINANCIAL CASUALTY COMPANY and/or

PROGRESSIVE CASUALTY INSURANCE COMPANY had issued a policy or contract of

automobile insurance insuring Paul Wunder, Raiser, LLC and/or Uber Technologies, Inc., and/or

the vehicle being operated by Paul Wunder on the Ubder rideshare platform. Said policy or contract

of automobile insurance provided petitioner, JOYCE BAHR, with coverage for the negligence of

an owner and/or operator of an uninsured or underinsured motor vehicle. It is alleged that Nemy

Granger, at the time of the accident, was an underinsured motorist within the terms of Louisiana

Revised Statutes. This policy or contract of insurance was in effect at the time of the accident

complained of herein.

                                               XII.

       As a result of this accident, petitioner, JOYCE BAHR, sustained serious injuries to her

neck, back, and other parts of her body, causing her to suffer severe pain and disability as well as

other damages itemized herein below.

                                               XIII.

               Petitioner, JOYCE BAHR, avers that she suffered the following damages, to-wit:

               Past and Future Medical Expenses;

               Past and Future Physical Pain and Suffering;

               Past and Future Mental Pain and Anguish;

               Physical Disability; and

               Loss of Enjoyment of Life.
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                                                  XIV.

        The petitioner further avers that the amount in controversy exceeds that which is required

for a trial by jury and she desires a trial by jury on all issues.

        WHEREFORE, petitioner, JOYCE BAHR, prays that after all due proceedings had, there

be judgment in her favor and against the defendants, UNITED FINANCIAL CASUALTY

COMPANY and/or PROGRESSIVE CASUALTY INSURANCE COMPANY, for such

damages as are reasonable in the premises, together with legal interest thereon from the date of

judicial demand until paid, for all costs of these proceedings, and for all general and equitable

relief, and for trial by jury.

                                        Respectfully Submitted,

                                        HMS, L.L.C.

                                        /s/ Preston L. Hayes
                                        ________________________________________________
                                        PRESTON L. HAYES (L.B.N. 29898)
                                        ZACHARY R. SMITH (L.B.N. 37316)
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WAIVER OF SERVICE TO BE SENT TO THE FOLLOWING:

UNITED FINANCIAL CASUALTY COMPANY
Through its registered agent for service of process:
Louisiana Secretary of State
8585 Archives Avenue
Baton Rouge, Louisiana 70809

PROGRESSIVE CASUALTY INSURANCE COMPANY
Through its registered agent for service of process:
Louisiana Secretary of State
8585 Archives Avenue
Baton Rouge, Louisiana 70809
